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                     UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF MISSISSIPPI
                               EASTERN DIVISION

UNITED STATES OF AMERICA

v.                                                  CRIMINAL NO. 4:09CR5-TSL-JCS-6

GERADO SANCHEZ


                  ORDER GRANTING MOTION TO DISMISS COUNTS

       This cause having come on for consideration on the motion of the government to dismiss

Counts 2,3,4,5,6,7,8 and 9 of this Indictment as to the defendant Gerado Sanchez only, as the

defendant Gerado Sanchez entered a plea of guilty to Count 1 of the Indictment in this matter and

has been sentenced by the Court.

       THEREFORE, the Court is of the opinion and so finds that the government’s motion to

dismiss Counts 2,3,4,5,6,7,8 and 9of this Indictment, as to the defendant Gerado Sanchez only, is

well taken and should be granted.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that Counts 2,3,4,5,6,7,8 and 9 of

this Indictment, as to the defendant Gerado Sanchez only, are hereby dismissed without

prejudice.

       SO ORDERED, this the 25th of January 2010.



                                             /s/Tom S. Lee
                                             SENIOR U.S. DISTRICT COURT JUDGE
